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                EXHIBIT B-123
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                        IN THE SUPERIOR COURT OF FULTON COU rR--,.~~---------'
                                   STATEOF GEORGIA


IN RE 2 MAY 2022 SPECIAL PURPOSE
GRAND JURY                                             2022-EX-000024



                      ORDER CANCELING HEARING ON ATTORNEY
                            DISQUALIFICATION REQUEST

           On 3 October 2022, the District Attorney of Fulton County filed a motion seeking

to disqualify Attorneys Holly A. Pierson and Kimberly Bourroughs Debrow from

representing eleven purported Republican presidential electors in connection with the

Special Purpose Grand Jury's investigation into possible criminal interference with the

2020 general elections in Georgia. On 24 October 2022, the Court set a hearing on this

motion for 18 November 2022. Since that time, Ms. Pierson and Ms. Debrow had an ex

parte meeting with the Court to discuss certain privileged or otherwise protected

information about their representation of their eleven clients and then filed a response to

the District Attorney's motion. 1 Based on the written pleadings and the information the

Court has received, the Court has determined that a hearing is not necessary to address

the concerns raised in the District Attorney's motion. A written order will soon issue. The

18 November 2022 hearing is CANCELLED.

          SO ORDERED this 14th day of November




                                                  Judge Robert C.I. McBur ey
                                                  Superior Court of Fulton County
                                                  Atlanta Judicial Circuit


1   The response was filed on 10 November 2022.
